Case 1:20-cr-00305-LDH Document 83-1 Filed 04/11/22 Page 1 of 2 PageID #: 442




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------------- x

  UNITED STATES OF AMERICA,
                                                                              DECLARATION IN
                                                                              SUPPORT OF
                                                                              DEFENDANT’S PRETRIAL
                                -against-                                     MOTIONS

  KARL JORDAN, JR., et al.,                                                   20 Cr. 305 (LDH)

                                                           Defendants.

  ----------------------------------------------------------------------- x

            Michael Hueston, Esq. declares, pursuant to 28 U.S.C. § 1746, under penalty of

  perjury, as follows:

            1.     I represent defendant Karl Jordan, Jr. in this action, and am familiar with

  the facts and circumstances of this case. I submit this declaration in support of

  defendant’s motion seeking pretrial relief as set forth in his April 11, 2022 notice of

  motion and memorandum of law. The purpose of this declaration is to place certain facts

  and exhibits before the Court.

            2.     Attached here as Exhibit A is the Government’s April 2, 2007 letter to the

  Honorable Nina Gershon in United States v. Ronald Washington, 05 Cr. 558, Doc. No.

  63.

            3.     Attached here as Exhibit B is the Government’s January 9, 2008 letter to

  the Honorable Nina Gershon in United States v. Ronald Washington, 05 Cr. 558, Doc.

  No. 84.
Case 1:20-cr-00305-LDH Document 83-1 Filed 04/11/22 Page 2 of 2 PageID #: 443




         4.     Attached here as Exhibit C is Ronald Washington’s April 2, 2008 letter to

  the Honorable Nina Gershon in United States v. Ronald Washington, Doc. Nos. 87.

  Dated: Brooklyn, New York
         April 11, 2022




                                             ___s/__________________________
                                             MICHAEL HUESTON, ESQ.




                                            2
